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                               10                              IN THE UNITED STATES DISTRICT COURT
                               11
                                                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                               12
  Los Angeles, CA 90069




                               13   PAUL MARTIN, individually and on                   Case No.
                                    behalf of all others similarly situated,
                               14                                                      CLASS ACTION COMPLAINT
                                                             Plaintiff,
                               15                                                      1. VIOLATION OF CALIFORNIA
                                              vs.                                         UNFAIR COMPETITION LAW,
                               16                                                         BUSINESS AND PROFESSIONS
                                    ONTEL PRODUCTS CORPORATION,                           CODE § 17200, et seq.
                               17   a New Jersey Corporation,                          2. FALSE AND MISLEADING
                                                                                          ADVERTISING IN VIOLATION
                               18                          Defendant.                     OF BUSINESS AND
                                                                                          PROFESSIONS CODE § 17500, et
                               19                                                         seq.
                                                                                       3. VIOLATION OF CALIFORNIA
                               20                                                         CONSUMERS LEGAL
                                                                                          REMEDIES ACT, CIVIL CODE §
                               21                                                         1750, et. seq.
                                                                                       4. RESTITUTION BASED ON
                               22                                                         QUASI CONTRACT/UNJUST
                                                                                          ENRICHMENT
                               23                                                      5. INTENTIONAL
                                                                                          MISREPRESENTATION
                               24                                                      6. NEGLIGENT
                                                                                          MISREPRESENTATION
                               25
                                                                                       DEMAND FOR JURY TRIAL
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                                1            Plaintiff Paul Martin (“Martin” or “Plaintiff”), individually and on behalf of
                                2   all other similarly situated purchasers (the “Class”) brings this Complaint against
                                3   Ontel Products Corporation (“Ontel” or “Defendant”) in connection with false,
                                4   misleading, deceptive, and unlawful marketing and sales practices.
                                5                                            INTRODUCTION
                                6            1.       Ontel Products Corporation is known for marketing, selling, and
                                7   distributing hundreds of millions of dollars in “as seen on tv” consumer products
                                8   annually. Defendant sells the majority of its products through a series of direct-to-
                                9   consumer (“DTC”) ecommerce websites. To increase profits at the expense of
                               10   unsuspecting consumers and fair competition, however, Defendant pioneered a new
                               11   “bait-and-switch” scheme which offers a product at a low price (the “bait”), and
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                               12   then tricks consumers into paying for additional units of that product and “add-on”
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                               13   features they never intended to buy, did not want, and did not authorize (the
                               14   “switch”). Defendant executes this bait and switch scheme by way of subtle,
                               15   hidden, confusing, deceptive, and misleading features woven throughout the
                               16   ordering process on its ecommerce websites. This massive marketing con comprises
                               17   a substantial portion of Defendant’s enormous revenues.
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                               26            2.       Defendant’s misleading, deceptive, and unlawful acts extend to
                               27   numerous products, including but not limited to: Micro Mechanic, Huggle™
                               28   Hoodie, Magic Pad, Arctic Hat™, Turbo Pump™, Piggy Pop, Arctic Air™
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                                1   Ultra, Arctic Air™, Arctic Air™ Freedom, Chill Chest™, Dust Daddy™, Measure
                                2   King™, Night Hawk™, Tiger Wrench™, Dream Tents™, Magic Tracks®,
                                3   Thermapulse™ Relief Wrap, Miracle Teeth Whitener™, Miracle MistTM Breathe
                                4   Easy, Wonder ArmsTM, Turbo Scrub™ 360, Ever BriteTM, Veggetti™, Speed
                                5   OutTM, Simply Strait®, Miracle Bamboo®, Safe & Healthy™ (the “Products”).
                                6            3.       In each and every instance of the Products’ ecommerce websites,
                                7   Defendant uses ambiguous and confusing language to describe the terms of
                                8   promotional offers, which tricks consumers into inadvertently placing orders for a
                                9   greater quantity of Products than they intend.
                               10            4.       Defendant fails to provide consumers with an opportunity to confirm or
                               11   edit their order at the end of the ordering process to ensure its accuracy, thereby
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                               12   failing to obtain consumers’ informed consent to the charges.
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                               13            5.       Defendant captures consumers’ billing information early in the sales
                               14   process and fails to advise consumers that Defendant will process their order before
                               15   providing them with order details.
                               16            6.       Defendant includes “upsell” offers that do not clearly inform consumers
                               17   of the total cost before accepting the offer. Because of Defendant’s
                               18   misrepresentations and misleading “upsell” offers, consumers consistently pay more
                               19   than they were expecting to pay based on Defendant’s misrepresentations.
                               20            7.       Upon purchase of the Product, Defendant misleads and confuses
                               21   consumers by having the selection “Yes! I’d like to DOUBLE my offer for just an
                               22   additional $19.99,” preselected, rather than allowing the consumer to choose the
                               23   selection. Consumers are charged an extra $19.99 plus applicable shipping costs for
                               24   products they never intended to purchase and did not want.
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                               13            8.       Defendant fails to clearly state the order quantity during the online sale
                               14   process, thereby depriving consumers of the opportunity to understand how many
                               15   individual units of the Products they are ordering.
                               16            9.       Defendant charges consumers for “online shipping insurance” without
                               17   obtaining informed consent. Unless a purchaser clicks on an inconspicuous
                               18   “decline” button, Defendant charges them for shipping insurance. To make matters
                               19   worse, Defendant charges the consumer for this so-called “insurance” without
                               20   disclosing the material terms and conditions.
                               21            10.      Defendant falsely advertises a “60 Day Money Back Guarantee,” and
                               22   fails to disclose that processing, shipping, and handling charges will not be
                               23   refunded.
                               24            11.      Defendant’s false, misleading, deceptive, and unlawful advertising
                               25   practices described herein violate the California Consumers Legal Remedies Act,
                               26   particularly California Civil Code Sections 1770(a)(5), 1770(a)(9), and 1770(a)(16),
                               27   as well as the Federal Tort Claims Act, particularly 15 U.S.C. § 45. et seq. As such,
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                                1   Defendant has committed per se violations of Business and Professions Code
                                2   Section 17200, et seq., and Business and Professions Code Section 17500.
                                3            12.      On May 22, 2022, the putative class provided Defendant with notice of
                                4   these violations via certified U.S. mail pursuant to Civil Code Section 1750, et seq.
                                5                                               PARTIES
                                6            13.      Plaintiff Paul Martin is an individual residing in Los Angeles, California.
                                7   Plaintiff purchased the Product in Los Angeles in 2020 via Defendant’s DTC website.
                                8   In making his purchase, Plaintiff fell victim to Defendant’s deceptive marketing and
                                9   sales tactics described herein. Specifically, Plaintiff unknowingly ordered twice as
                               10   many Arctic Air Products due to Defendant’s pre-selection of the “double offer,” and
                               11   was charged an extra $19.99. He also paid an additional insurance service fee that he
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                               12   did not want to purchase. Plaintiff would not have purchased the Product if he knew
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                               13   he would be subjected to deceptive “upselling” of additional product and purported
                               14   “insurance” he did not want and did not intend to pay for. If the Product’s
                               15   advertising, labeling, and marketing were not misleading, then Plaintiff may purchase
                               16   the Product in the future.
                               17            14.      Ontel Products Corporation is a New Jersey corporation headquartered in
                               18   New Jersey. Defendant maintains its principal place of business at 21 Law Dr.,
                               19   Fairfield, NJ 07004. Defendant directly and through its agents, has substantial
                               20   contacts with and receives substantial benefits and income from and through the State
                               21   of California. Defendant is the owner, manufacturer, distributor, advertiser, and seller
                               22   of the Products, and is the company that created and/or authorized the false,
                               23   misleading, deceptive, and unlawful advertising, marketing, and sales tactics for the
                               24   Products.
                               25            15.      In committing the wrongful acts alleged herein, Defendant planned and
                               26   participated in and furthered a common scheme by means of false, misleading,
                               27   deceptive, and fraudulent marketing and sales tactics to induce members of the
                               28   public to purchase and pay hidden fees for the Products. Defendant participated in
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                                1   the making of such representations in that it did disseminate, or cause said
                                2   misrepresentations, to be disseminated.
                                3            16.      Defendant, upon becoming involved with the advertising and sale of the
                                4   Products, knew or should have known that its marketing and sales tactics related to
                                5   the Products was false, deceptive, misleading, and unlawful. Defendant
                                6   affirmatively uses deceptive tactics in its website advertisements in order to lure
                                7   consumers into not only purchasing its Products, but paying unnecessarily more for
                                8   add on Products they never intended on purchasing, resulting in profits of millions
                                9   of dollars or more to Defendant, all to the damage and detriment of the consuming
                               10   public.
                               11            17.      Defendant’s consistent and uniform marketing and sales tactics related
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                               12   to the Products are fraudulent, deceptive, unlawful, and misleading in violation of
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                               13   California and federal advertising laws.
                               14                                        JURISDICTION AND VENUE
                               15            18.      This Court has subject matter jurisdiction over this action pursuant to
                               16   the Class Action Fairness Act of 2005, 28 U.S.C. Section 1332, because: (i) there
                               17   are 100 or more class members, (ii) there is an aggregate amount in controversy
                               18   exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal
                               19   diversity because at least one plaintiff and defendant are citizens of different states.
                               20   This Court has supplemental jurisdiction over any state law claims pursuant to 28
                               21   U.S.C. Section 1367.
                               22            19.      Pursuant to 28 U.S.C. Section 1391, this Court is the proper venue for
                               23   this action because a substantial part of the events, omissions, and acts giving rise to
                               24   the claims herein occurred in this District. Plaintiff is a citizen of California who
                               25   resides in Los Angeles County; Defendant made the challenged false
                               26   representations to Plaintiff in this District; and Plaintiff purchased the Product in
                               27   this District. Moreover, Defendant receives substantial compensation from sales in
                               28   this District, and Defendant made numerous misrepresentations which had a
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                                1   substantial effect in this District, including but not limited to Internet and
                                2   infomercial advertisements, among other advertising.
                                3            20.      Defendant is subject to personal jurisdiction in California based upon
                                4   sufficient minimum contacts which exist between Defendant and California.
                                5   Defendant is authorized to do and is doing business in California.
                                6                                            FACTUAL BACKGROUND
                                7            21.      Defendant has pioneered a deceptive marketing and advertising scheme
                                8   to profit off of misleading “upsell” offers. Defendant’s deceptive and confusing
                                9   ordering and check-out scheme not only harms consumers, it stifles competition
                               10   from honest businesses who follow the law and play by the rules.
                               11            22.      Defendant primarily sells the Products online on its DTC website.
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                               12   Defendant’s Products also appear in over 80,000 retail stores, in over 30 countries
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                               13   worldwide.
                               14            23.      Defendant sells numerous Products, including the ARCTIC AIR
                               15   evaporative air cooler (“Arctic”), through a DTC website. The ordering process on
                               16   this website is riddled with deceptive and misleading features.
                               17            24.      Defendant utilized, and continues to utilize, these deceptive and
                               18   misleading features on its websites. Compliance with remedial statutes, like those
                               19   underlying this lawsuit, will benefit Plaintiff, the putative class, consumers, and the
                               20   general public.
                               21            25.      For example, the Arctic home page has an image that states “DOUBLE
                               22   OFFER,” accompanied by small fine print that informs consumers of a “separate
                               23   fee” amount, which consumers eventually find out is a hefty $19.99.
                               24   ///
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                               10            26.      The net impression of “DOUBLE OFFER” is that consumers buy one
                               11   Arctic and get a second Arctic free, or for a nominal fee.
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                               12            27.      Additionally, the home page plays a video advertisement that states the
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                               13   phrase “we’ll double the offer free,” further deceiving reasonable consumers into
                               14   believing they are getting a true “double offer.”
                               15            28.      The Arctic home page also contains two conspicuous red buttons
                               16   stating “Order Now.” After a consumer clicks these buttons, they are redirected to
                               17   the Arctic ordering page, where they are immediately prompted to submit contact
                               18   and billing information. The ordering page has an option stating “Yes? I’d like to
                               19   DOUBLE my offer for just an additional $19.99” pre-selected. Consumers must
                               20   unselect this option to avoid paying $19.99 more every time they order.
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                               17            29.      Defendant’s “DOUBLE OFFER” marketing scam extends to several of
                               18   the Products. For example, Defendant’s “Safe & Healthy” home page attempts to
                               19   deceive consumers in the same manner as the Arctic home page.1 The same is true
                               20   of Defendant’s “Arctic Air Freedom” product home page.2
                               21            30.      The bottom of the ordering page contains an option stating “InsureShip
                               22   yes! Guarantee my shipment.” Consumers have to intentionally opt out of this
                               23   shipping “insurance.”
                               24   ///
                               25   ///
                               26
                                    1
                                      See Defendant’s official website https://www.safeandhealthy.com/ (last visited
                               27   September 4, 2020).
                                    2
                                      See Defendant’s official website https://www.arcticairfreedom.com/#order (last
                               28   visited September 4, 2020).
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                               13            31.      When consumers are ready to review their items and potential charges,
                               14   they are directed to click a “Process Order” option. But rather than having the
                               15   opportunity to review their order, consumers are tricked into confirming their order
                               16   without reviewing their items or charges. When consumers click the “Process
                               17   Order” button, their order is immediately completed, even before they can review
                               18   and edit their order, which is atypical for the DTC sales industry.
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                                1            32.      Rather than directing consumers to a page that details the order,
                                2   Defendant redirects consumers to another page that contains advertising and
                                3   promotions for the Arctic Product. Consumers must click through several different
                                4   pages, all of which contain various promotional offers, to get to the order
                                5   confirmation page that states, “Thank you. Your order is complete.”
                                6            33.      Defendant’s purchase confirmation page does not give the consumer
                                7   the opportunity to edit or cancel their order. Nor does the page display a phone
                                8   number for consumers to call if they would like to edit or cancel their order. If a
                                9   consumer does not click through every single promotional offer, they never see the
                               10   confirmation page and would reasonably believe they never placed their order. This
                               11   is problematic because Defendant has already collected the consumer’s financial
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                               12   information and processed the sale.
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                               13            34.      Plaintiff unknowingly fell victim to Defendant’s “DOUBLE OFFER”
                               14   scheme. Plaintiff was charged an extra $19.99 for products that he did not wish to
                               15   purchase. Plaintiff did not notice the overcharges until after he had paid for the
                               16   Products and his bank account was debited for the order.
                               17            35.      Defendant uses the “DOUBLE OFFER” promotion to generate a
                               18   financial windfall while deceiving consumers into believing that the promotion is
                               19   legitimate and fair. Defendant’s misleading and deceptive practice of tricking
                               20   consumers into spending an additional $19.99, plus other unwanted add-ons is
                               21   deceptive and unfair.
                               22            36.      Plaintiff and the Class Members have accordingly suffered injury in
                               23   fact caused by the false, fraudulent, unfair, deceptive, unlawful, and misleading
                               24   practices set forth herein, and seek injunctive relief, as well as, inter alia,
                               25   compensatory damages, statutory damages, and restitutionary damages.
                               26                                    CLASS ACTION ALLEGATIONS
                               27            37.      Plaintiff brings this action on her own behalf and on behalf of all other
                               28   persons similarly situated. The Class which Plaintiff seeks to represent comprises:
                                                                                    11
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                                1                     “All persons who purchased the Products via Defendant’s
                                                      direct to consumer website or telephone ordering system
                                2                     in the United States or, alternatively, the State of
                                3                     California, for personal use and not for resale during the
                                                      time period of four years prior to the filing of the
                                4                     complaint through the present.”
                                5   Said definition may be further defined or amended by additional pleadings,
                                6   evidentiary hearings, a class certification hearing, and orders of this Court.
                                7            38.      The Class is comprised of many thousands of persons. The Class is so
                                8   numerous that joinder of all members is impracticable and the disposition of their
                                9   claims in a class action will benefit the parties and the Court.
                               10            39.      There is a well-defined community of interest in the questions of law
                               11   and fact involved affecting the parties to be represented in that the Class was
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                               12   exposed to the same common and uniform false, misleading, and unlawful
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                               13   advertising as well as deceptive marketing tactics. The questions of law and fact
                               14   common to the Class predominate over questions which may affect individual Class
                               15   members. Common questions of law and fact include, but are not limited to, the
                               16   following:
                               17                  a. Whether Defendant’s conduct is an unlawful business act or practice
                               18                     within the meaning of Business and Professions Code Section 17200, et
                               19                     seq.;
                               20                  b. Whether Defendant’s conduct is a fraudulent business act or practice
                               21                     within the meaning of Business and Professions Code Section 17200, et
                               22                     seq.;
                               23                  c. Whether Defendant’s conduct is an unfair business act or practice within
                               24                     the meaning of Business and Professions Code Section 17200, et seq.;
                               25                  d. Whether Defendant’s advertising and marketing is untrue or misleading
                               26                     within the meaning of Business and Professions Code Section 17500, et
                               27                     seq.;
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                                1                  e. Whether Defendant represented that the Products have characteristics that
                                2                     they do not have in violation of California Civil Code Section 1750, et
                                3                     seq.;
                                4                  f. Whether Defendant advertised the Products with the intent not to sell
                                5                     them as advertised in violation of California Civil Code Section 1750, et
                                6                     seq.;
                                7                  g. Whether Defendant represented the Products had been supplied in
                                8                     accordance with a previous representation when they were not in
                                9                     violation of California Civil Code Section 1750, et seq.; and
                               10                  h. Whether Defendant’s deceptive marketing scheme alleged herein causes
                               11                     or is likely to cause reasonably foreseeable injuries.
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                               12            40.      Plaintiff’s claims are typical of the claims of the proposed Class, as the
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                               13   representations and omissions made by Defendant are uniform and consistent and
                               14   are contained in online advertisements that were seen and relied on by Plaintiff and
                               15   members of the Class.
                               16            41.      Plaintiff will fairly and adequately represent and protect the interests of
                               17   the proposed Class. Plaintiff has retained competent and experienced counsel in class
                               18   action and other complex litigation.
                               19            42.      Plaintiff and the Class have suffered injury in fact and have lost money as
                               20   a result of Defendant’s false, deceptive, misleading, and unlawful marketing tactics.
                               21            43.      The Class is identifiable and readily ascertainable. Defendant maintains
                               22   the contact information for all of its online purchasers, so Class Notice can be
                               23   effectuated via direct email and mail notice.
                               24            44.      A class action is superior to other available methods for fair and
                               25   efficient adjudication of this controversy. The expense and burden of individual
                               26   litigation would make it impracticable or impossible for proposed members of the
                               27   Class to prosecute their claims individually.
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                                1            45.      The trial and the litigation of Plaintiff’s claims are manageable.
                                2   Individual litigation of the legal and factual issues raised by Defendant’s conduct
                                3   would increase delay and expense to all parties and the court system. The class
                                4   action device presents far fewer management difficulties and provides the benefits
                                5   of a single, uniform adjudication, economies of scale, and comprehensive
                                6   supervision by a single court.
                                7            46.      Defendant has acted on grounds generally applicable to the entire Class,
                                8   thereby making final injunctive relief and/or corresponding declaratory relief
                                9   appropriate with respect to the Class as a whole. The prosecution of separate actions
                               10   by individual Class members would create the risk of inconsistent or varying
                               11   adjudications with respect to individual members of the Class that would establish
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                               12   incompatible standards of conduct for Defendant.
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                               13            47.      Absent a class action, Defendant will likely retain the benefits of its
                               14   wrongdoing. Because of the small size of the individual Class members’ claims,
                               15   few, if any, Class members could afford to seek legal redress for the wrongs
                               16   complained of herein. Absent a representative action, the Class members will
                               17   continue to suffer losses and Defendant will be allowed to continue these violations
                               18   of law and to retain the proceeds of its ill-gotten gains.
                               19                                               COUNT ONE
                               20            VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
                               21                       BUSINESS & PROFESSIONS CODE § 17200, et seq.
                               22                                       (By Plaintiff against Defendant)
                               23            48.      Plaintiff repeats and re-alleges the allegations set forth in the preceding
                               24   paragraphs and incorporates the same as if set forth herein at length.
                               25            49.      The UCL prohibits “any unlawful, unfair... or fraudulent business act or
                               26   practice.” Cal. Bus & Prof. Code § 17200.
                               27   ///
                               28   ///
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                                1                                            A.   “Unfair Prong”
                                2            50.      Under California’s Unfair Competition Law, Cal. Bus. & Prof. Code
                                3   Section 17200, et seq., a challenged activity is “unfair” when “any injury it causes
                                4   outweighs any benefits provided to consumers and the injury is one that the
                                5   consumers themselves could not reasonably avoid.” Camacho v. Auto Club of
                                6   Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                7            51.      Defendant’s misleading and deceptive conduct alleged herein does not
                                8   confer any benefit to consumers.
                                9            52.      Defendant’s misleading and deceptive conduct alleged herein causes
                               10   injuries to consumers, who do not receive a shopping experience commensurate
                               11   with their reasonable expectations.
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                               12            53.      Consumers cannot avoid any of the injuries caused by Defendant’s
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                               13   actions. Accordingly, the injuries caused by Defendant’s actions outweigh any
                               14   benefits.
                               15            54.      Some courts conduct a balancing test to decide if a challenged activity
                               16   amounts to unfair conduct under California Business and Professions Code Section
                               17   17200. They “weigh the utility of the defendant’s conduct against the gravity of the
                               18   harm to the alleged victim.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152,
                               19   1169 (9th Cir. 2012).
                               20            55.      Defendant’s misleading and deceptive conduct alleged herein has no
                               21   utility and financially harms purchasers. Thus, the utility of Defendant’s conduct is
                               22   vastly outweighed by the gravity of harm.
                               23            56.      Some courts require that “unfairness must be tethered to some
                               24   legislative declared policy or proof of some actual or threatened impact on
                               25   competition.” Lozano v. AT&T WirelessServs. Inc., 504 F. 3d 718, 735 (9th Cir.
                               26   2007).
                               27            57.      Under the California Consumers Legal Remedies Act, certain acts are
                               28   unlawful if they are “intended to result” or do result “in the sale or lease of goods or
                                                                                      15
                                                                                    15 COMPLAINT
                                                                         CLASS ACTION
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                                1   services to any consumer.” Cal. Civ. Code § 1770(a). Such prohibited acts include:
                                2   (1) “[r]epresenting that goods or services have sponsorship, approval,
                                3   characteristics, ingredients, uses, benefits, or quantities that they do not have or that
                                4   a person has a sponsorship, approval, status, affiliation, or connection that he or she
                                5   does not have,” (Cal. Civ. Code § 1770(a)(5)); (2) “[a]dvertising goods or services
                                6   with intent not to sell them as advertised,” (Cal. Civ. Code § 1770(a)(9)); and (3)
                                7   “[r]epresenting that the subject of a transaction has been supplied in accordance
                                8   with a previous representation when it has not,” (Cal. Civ. Code § 1770(a)(16)).
                                9   Defendant’s conduct set forth herein is violative of Cal. Civ. Code § 1770(a)(5),
                               10   (a)(9), and (a)(16).
                               11            58.      Defendant’s conduct is tethered to a legislative policy declared in Cal.
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                               12   Civ. Code § 1770(a)(5), (a)(9), and (a)(16).
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                               13            59.      Under the Federal Tort Claims Act, certain “unfair methods of
                               14   competition . . . and unfair or deceptive acts or practices” are declared unlawful. 15
                               15   U.S.C. § 45(a). Such “unfair or deceptive acts or practices” include acts that “cause
                               16   or are likely to cause” reasonably foreseeable injury.
                               17            60.      Defendant’s conduct is tethered to a legislative policy declared in 15
                               18   U.S.C. § 45(a).
                               19            61.      Defendant’s misleading and deceptive conduct alleged herein is false,
                               20   deceptive, misleading, and unreasonable and constitutes unfair conduct.
                               21            62.      Defendant knew or should have known of its unfair conduct.
                               22            63.      As alleged in the preceding paragraphs, the misrepresentations by
                               23   Defendant detailed above constitute an unfair business practice within the meaning
                               24   of California Business and Professions Code Section 17200.
                               25            64.      There existed reasonably available alternatives to further Defendant’s
                               26   legitimate business interests, other than the unfair conduct alleged herein.
                               27   Defendant could have clearly stated its terms and offers and implemented a
                               28   checkout process that was legally compliant. For example, Defendant could have
                                                                                    16
                                                                                    16 COMPLAINT
                                                                         CLASS ACTION
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                                1   avoided a hidden fee and upsell bait-and-switch scam, and utilized an online check-
                                2   out process that was clear and intuitive to consumers.
                                3            65.      All of the conduct alleged herein occurs and continues to occur in
                                4   Defendant’s business. Defendant’s unfair conduct is part of a pattern or generalized
                                5   course of conduct repeated on thousands of occasions daily.
                                6            66.      Plaintiff and the Class have suffered injury in fact and have lost money
                                7   as a result of Defendant’s unfair conduct alleged herein.
                                8                                            B. “Fraudulent” Prong
                                9            67.      California Business and Professions Code Section 17200, et seq.,
                               10   considers conduct fraudulent and prohibits said conduct if it is likely to deceive
                               11   members of the public. Bank of the West v. Superior Court, 2 Cal. 4th 1254, 1267
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                               12   (1992).
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                               13            68.      Defendant’s misleading and deceptive conduct alleged herein is likely
                               14   to deceive the public.
                               15            69.      Defendant’s false, misleading, and deceptive conduct alleged herein is
                               16   false, deceptive, misleading, and unreasonable, and constitutes fraudulent conduct.
                               17            70.      Defendant knew or should have known of its fraudulent conduct.
                               18            71.      The deceptive conduct alleged herein constitutes fraudulent business
                               19   practices in violation of California Business & Professions Code Section 17200.
                               20            72.      Defendant had reasonably available alternatives to further its legitimate
                               21   business interests, other than the conduct described herein. Defendant could have
                               22   tailored its website to be like its competitors’ websites, which abide by fair
                               23   competition rules.
                               24            73.      Defendant’s misleading and deceptive conduct alleged herein occurs
                               25   and continues to occur in Defendant’s business. Defendant’s wrongful conduct is
                               26   part of a pattern or generalized course of conduct repeated on thousands of
                               27   occasions daily.
                               28

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                                                                                    17 COMPLAINT
                                                                         CLASS ACTION
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                                1            74.      Plaintiff and the Class have suffered injury in fact and have lost money
                                2   as a result of Defendant’s fraudulent conduct alleged herein.
                                3                                            C. “Unlawful” Prong
                                4            75.      California Business and Professions Code Section 17200, et seq.,
                                5   identifies violations of other laws as “unlawful practices that the unfair competition
                                6   law makes independently actionable.” Velazquez v. GMAC Mortg. Corp., 605 F.
                                7   Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                8            76.      Defendant is in violation of 16 C.F.R. § 238 entitled “Bait advertising
                                9   defined,” which provides: “For the purpose of this part ‘advertising’ includes any
                               10   form of public notice however disseminated or utilized. Bait advertising is an
                               11   alluring but insincere offer to sell a product or service which the advertiser in truth
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                               12   does not intend or want to sell. Its purpose is to switch consumers from buying the
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                               13   advertised merchandise, in order to sell something else, usually at a higher price or
                               14   on a basis more advantageous to the advertiser. The primary aim of a bait
                               15   advertisement is to obtain leads as to persons interested in buying merchandise of
                               16   the type so advertised.”
                               17          77.        Defendant is in violation of 16 C.F.R. § 238.1 entitled “Bait
                               18   advertisement,” which provides: “No advertisement containing an offer to sell a
                               19   product should be published when the offer is not a bona fide effort to sell the
                               20   advertised product.”
                               21          78.        Defendant is in violation of 16 C.F.R. § 238.2 entitled “Initial offer,”
                               22   which provides: “(a) No statement or illustration should be used in any
                               23   advertisement which creates a false impression of the grade, quality, make, value,
                               24   currency of model, size, color, usability, or origin of the product offered, or which
                               25   may otherwise misrepresent the product in such a manner that later, on disclosure of
                               26   the true facts, the purchaser may be switched from the advertised product to
                               27   another; (b) Even though the true facts are subsequently made known to the buyer,
                               28   the law is violated if the first contact or interview is secured by deception.”
                                                                                      18
                                                                                    18 COMPLAINT
                                                                         CLASS ACTION
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                                1            79.      Defendant is in violation of 16 C.F.R. § 238.3 entitled “Discouragement
                                2   of purchase of advertised merchandise,” which provides: “No act or practice should
                                3   be engaged in by an advertiser to discourage the purchase of the advertised
                                4   merchandise as part of a bait scheme to sell other merchandise. Among acts or
                                5   practices which will be considered in determining if an advertisement is a bona fide
                                6   offer are: (a) The refusal to show, demonstrate, or sell the product offered in
                                7   accordance with the terms of the offer.”
                                8            80.      Defendant is in violation of 16 C.F.R. § 238.4 entitled “Switch after
                                9   sale,” which provides: “No practice should be pursued by an advertiser, in the event
                               10   of sale of the advertised product, of ‘unselling’ with the intent and purpose of
                               11   selling other merchandise in its stead. Among acts or practices which will be
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                               12   considered in determining if the initial sale was in good faith, and not a strategem to
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                               13   sell other merchandise, are: (a) Accepting a deposit for the advertised product, then
                               14   switching the purchaser to a higher-priced product.”
                               15            81.      Defendant is in violation of Cal. Civ. Code § 1770, which declares
                               16   unlawful: (a)(5) “Representing that goods or services have sponsorship, approval,
                               17   characteristics, ingredients, uses, benefits, or quantities that they do not have or that
                               18   a person has a sponsorship, approval, status, affiliation, or connection that he or she
                               19   does not have. (a)(9) Advertising goods or services with intent not to sell them as
                               20   advertised. (a)(16) Representing that the subject of a transaction has been supplied
                               21   in accordance with a previous representation when it has not.”
                               22            82.      Defendant is in violation of 15 U.S. Code § 45(a), entitled “Unfair
                               23   methods of competition unlawful; prevention by commission,” which provides: “(1)
                               24   Unfair methods of competition in or affecting commerce, and unfair or deceptive
                               25   acts or practices in or affecting commerce, are hereby declared unlawful . . . (4) For
                               26   purposes of subsection (a), the term “unfair or deceptive acts or practices” includes
                               27   such acts or practices involving foreign commerce that— (i) cause or are likely to
                               28

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                                                                                    19 COMPLAINT
                                                                         CLASS ACTION
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                                1   cause reasonably foreseeable injury within the United States; or (ii) involve
                                2   material conduct occurring within the United States.”
                                3            83.      By violating the above statutes, laws, and regulations, Defendant is in
                                4   violation of the unlawful prong of the UCL.
                                5            84.      Defendant’s misleading and deceptive conduct alleged herein is false,
                                6   deceptive, misleading, and unreasonable, and constitutes unlawful conduct.
                                7            85.      Defendant knew or should have known of its unlawful conduct.
                                8            86.      Defendant’s misleading and deceptive conduct alleged herein
                                9   constitutes unlawful business practices within the meaning of California Business
                               10   and Professions Code Section 17200.
                               11            87.      There were reasonably available alternatives to further Defendant’s
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                               12   legitimate business interests, other than the conduct described herein. Defendant
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                               13   could tailor its website to be like its competitors’ websites, which do not mislead
                               14   reasonable consumers.
                               15            88.      All of the conduct alleged herein occurred and continues to occur in
                               16   Defendant’s business. Defendant’s unlawful conduct is part of a pattern or
                               17   generalized course of conduct repeated on thousands of occasions daily.
                               18            89.      Plaintiff and the Class have suffered injury in fact and have lost money
                               19   as a result of Defendant’s unlawful conduct. Plaintiff fell victim to Defendant’s
                               20   deceptive marketing and sales tactics described herein. Specifically, Plaintiff
                               21   unknowingly doubled his offer due to Defendant’s pre-selection tactics and
                               22   purchased shipping insurance. Plaintiff was charged an extra $19.99 and would not
                               23   have purchased the additional Product had he known about the pre-selection option
                               24   or the shipping insurance.
                               25            90.      Pursuant to Business and Professions Code Sections 17203, Plaintiff
                               26   and the Class seek an order of this Court enjoining Defendant from continuing to
                               27   engage, use, or employ its unlawful conduct as alleged herein. Likewise, Plaintiff
                               28   and the Class seek an order awarding Plaintiff and the Class restitution of the
                                                                                    20
                                                                                    20 COMPLAINT
                                                                         CLASS ACTION
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                                1   money wrongfully acquired by Defendant by means of responsibility attached to
                                2   Defendant’s conduct alleged herein in an amount to be determined at trial.
                                3                                               COUNT TWO
                                4   FALSE AND MISLEADING ADVERTISING IN VIOLATION OF BUSINESS
                                5                                & PROFESSIONS CODE § 17500, et seq.
                                6                                       (By Plaintiff against Defendant)
                                7            91.      Plaintiff repeats and re-alleges the allegations set forth in the preceding
                                8   paragraphs and incorporates the same as if set forth herein at length.
                                9            92.      California’s False Advertising Law, California Business and
                               10   Professions Code Section 17500, et seq., makes it “unlawful for any person to make
                               11   or disseminate or cause to be made or disseminated before the public in this state, in
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                               12   any advertising device or in any other manner or means whatever, including over
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                               13   the Internet, any statement, concerning personal property or services, professional
                               14   or otherwise, or performance or disposition thereof, which is untrue or misleading
                               15   and which is known, or which by the exercise of reasonable care should beknown,
                               16   to be untrue or misleading.”
                               17            93.      Defendant, in its advertising, and marketing of the Products as alleged
                               18   herein, uses misleading and deceptive advertising and marketing tactics in relation
                               19   to the Products. Such tactics appear prominently on Defendant’s official websites.
                               20            94.      Defendant controlled the advertising and marketing of the Product. It
                               21   knew or should have known, through the exercise of reasonable care, that its tactics
                               22   used on its website were deceptive and misleading.
                               23            95.      Defendant’s misleading and deceptive conduct alleged herein is likely
                               24   to deceive the general public.
                               25            96.      Defendant’s false, misleading, and deceptive conduct alleged herein is
                               26   false and misleading, such that the general public is and was likely to be deceived,
                               27   in violation of Section 17500.
                               28

                                                                                       21
                                                                                    21 COMPLAINT
                                                                         CLASS ACTION
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                                1            97.      Pursuant to Business and Professions Code Section 17535, Plaintiff and
                                2   the Class seek an order of this Court enjoining Defendant from continuing to
                                3   engage, use, or employ its practice of misleading and deceptive marketing tactics
                                4   alleged herein. Likewise, Plaintiff and the Class seek an order requiring Defendant
                                5   to be more transparent throughout its ordering process, and additionally request an
                                6   order awarding Plaintiff and the Class restitution of the money wrongfully acquired
                                7   by Defendant by means of responsibility attached to Defendant’s misleading and
                                8   deceptive conduct alleged herein in an amount to be determined at trial.
                                9            98.      Plaintiff and the Class have suffered injury in fact and have lost money
                               10   as a result of Defendant’s deceptive and misleading conduct alleged herein.
                               11                                              COUNT THREE
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                               12     VIOLATION OF CALIFORNIA CONSUMERS LEGAL REMEDIES ACT,
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                               13                              CALIFORNIA CIVIL CODE § 1750, et seq.
                               14                                       (By Plaintiff against Defendant)
                               15            99.      Plaintiff repeats and re-alleges the allegations set forth in the preceding
                               16   paragraphs and incorporates the same as if set forth herein at length.
                               17            100. The CLRA prohibits certain “unfair methods of competition and unfair
                               18   or deceptive acts or practices” in connection with a sale of goods.
                               19            101. Under the California Consumer Legal Remedies Act, certain acts are
                               20   unlawful if they are “intended to result” or result “in the sale or lease of goods or
                               21   services to any consumer.” Cal. Civ. Code § 1770(a). Such prohibited acts include:
                               22   (1) “[r]epresenting that goods or services have sponsorship, approval,
                               23   characteristics, ingredients, uses, benefits, or quantities that they do not have or that
                               24   a person has a sponsorship, approval, status, affiliation, or connection that he or she
                               25   does not have,” (Cal. Civ. Code § 1770(a)(5)); (2) “[a]dvertising goods or services
                               26   with intent not to sell them as advertised,” (Cal. Civ. Code § 1770(a)(9)); and (3)
                               27   “[r]epresenting that the subject of a transaction has been supplied in accordance
                               28   with a previous representation when it has not,” (Cal. Civ. Code § 1770(a)(16)).
                                                                                       22
                                                                                    22 COMPLAINT
                                                                         CLASS ACTION
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                                1   Defendant’s conduct set forth herein is violative of Cal. Civ. Code § 1770(a)(5),
                                2   (a)(9), and (a)(16).
                                3            102. Defendant used misleading and deceptive marketing tactics to sell the
                                4   Products and made material misrepresentations to fraudulently deceive Plaintiff and
                                5   the Class.
                                6            103. Defendant fraudulently deceived Plaintiff and the Class by
                                7   misrepresenting the Products as having characteristics and quantities which they do
                                8   not have, e.g., representing that consumers would receive a “double offer,” or
                                9   forcing consumers to pay for two products instead of one. In doing so, Defendant
                               10   intentionally misrepresented and concealed material facts from Plaintiff and the
                               11   Class. Said misrepresentations and concealment were done with the intention of
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                               12   deceiving Plaintiff and the Class and depriving them of their legal rights and
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                               13   money.
                               14            104. Defendant fraudulently deceived Plaintiff and the Class by failing to
                               15   provide consumers with an opportunity to confirm or edit their order at the end of
                               16   the ordering process to ensure its accuracy, therefore failing to obtain consumers’
                               17   informed consent to the charges.
                               18            105. Defendant fraudulently deceived Plaintiff and the Class by capturing
                               19   consumers’ billing information early in the sales process, and failing to advise
                               20   consumers that Defendant will process their order before providing them with order
                               21   details.
                               22            106. Defendant fraudulently deceived Plaintiff and the Class by including
                               23   “upsell” offers that do not clearly inform consumers of the total cost.
                               24            107. Defendant fraudulently deceived Plaintiff and the Class by failing to
                               25   clearly state the order quantity, thereby depriving consumers the opportunity to
                               26   understand how many individual units they are ordering;
                               27            108. Defendant knew or should have known, through the exercise of
                               28   reasonable care, that its conduct was misleading.
                                                                                    23
                                                                                    23 COMPLAINT
                                                                         CLASS ACTION
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                                1            109. Defendant’s actions alleged herein were done with conscious disregard
                                2   of Plaintiff’s rights, and Defendant was wanton and malicious in its concealment of
                                3   the same.
                                4            110. Defendant’s marketing and advertising of the Products was a material
                                5   factor in Plaintiff’s and the Class’s injuries. Had they known the truth of the matter,
                                6   Plaintiff and the Class would never have, for example, ordered twice as many
                                7   products as they wanted.
                                8            111. Plaintiff and the Class have suffered injury in fact and have lost money
                                9   as a result of Defendant’s unfair, unlawful, and fraudulent conduct.
                               10            112. Defendant’s misleading and unlawful advertising and marketing should
                               11   be enjoined. In addition, Defendant should be compelled to provide restitution and
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                               12   damages to consumers who overpaid for Products or paid for Products they never
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                               13   wished to purchase.
                               14            113. By letter dated May 22, 2020 Plaintiff advised Defendant of its
                               15   false and misleading claims pursuant to California Civil Code Section 1782(a).
                               16                                               COUNT FOUR
                               17                    Restitution Based on Quasi-Contract/Unjust Enrichment
                               18                                       (By Plaintiff against Defendant)
                               19            114. Plaintiff repeats and realleges the allegations set forth above and
                               20   incorporates the same as if set forth herein at length.
                               21            115. Plaintiff brings this cause of action individually and on behalf of the
                               22   members of the Class against Defendant.
                               23            116. By means of Defendant’s wrongful conduct alleged herein, Defendant
                               24   knowingly sold the Products to Plaintiff and members of the Class in a manner that
                               25   was unfair, unconscionable, and oppressive.
                               26            117. Defendant knowingly received and retained wrongful benefits and
                               27   funds from Plaintiff and members of the Class. In so doing, Defendant acted with
                               28   conscious disregard for the rights of Plaintiff and members of the Class.
                                                                                       24
                                                                                    24 COMPLAINT
                                                                         CLASS ACTION
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                                1            118. As a result of Defendant’s wrongful conduct as alleged herein,
                                2   Defendant has been unjustly enriched at the expense of, and to the detriment of,
                                3   Plaintiff and members of the Class.
                                4            119. Defendant’s unjust enrichment is traceable to, and resulted directly and
                                5   proximately from, the deceptive and misleading conduct alleged herein.
                                6            120. Under the common law doctrine of unjust enrichment, it is inequitable
                                7   for Defendant to be permitted to retain the benefits it received, without justification,
                                8   from selling the Products to Plaintiff and members of the class in an unfair,
                                9   unconscionable, and oppressive manner. Defendant’s retention of such funds under
                               10   such circumstances constitutes unjust enrichment.
                               11            121. The financial benefits derived by Defendant rightfully belong to
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                               12   Plaintiff and members of the Class. Defendant should be compelled to return in a
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                               13   common fund for the benefit of Plaintiff and members of the Class all wrongful or
                               14   inequitable proceeds received by Defendant.
                               15            122. Plaintiff and members of the Class have no adequate remedy at law.
                               16                                                   COUNT FIVE
                               17                                            Intentional Misrepresentation
                               18                                        (By Plaintiff against Defendant)
                               19            123. Plaintiff repeats and realleges all of the allegations contained above and
                               20   incorporates the same as if set forth herein at length.
                               21            124. Plaintiff brings this cause of action individually and on behalf of all
                               22   members of the Class against Defendant.
                               23            125. Defendant, through the deceptive and misleading features alleged
                               24   herein, makes intentional misrepresentations about the Products.
                               25            126. Defendant’s misrepresentations regarding the Products are material to a
                               26   reasonable consumer. A reasonable consumer would attach importance to such
                               27   representations and would be induced to spend more money than if Defendant had
                               28   not made the misrepresentations.
                                                                                           25
                                                                                    25 COMPLAINT
                                                                         CLASS ACTION
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                                1            127. At all relevant times when such misrepresentations were made,
                                2   Defendant knew or should have known that the advertisements were misleading.
                                3            128. Defendant intended for Plaintiff and the Class to rely on the deceptive
                                4   and misleading features alleged herein.
                                5            129. Plaintiff and members of the Class reasonably and justifiably relied on
                                6   Defendant’s intentional misrepresentations when purchasing the Products.
                                7            130. As a direct and proximate result of Defendant’s intentional
                                8   misrepresentations, Plaintiff and members of the Class have suffered injury in fact.
                                9                                                   COUNT SIX
                               10                                            Negligent Misrepresentation
                               11                                       (By Plaintiff against Defendant)
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                               12            131. Plaintiff repeats and realleges all of the allegations contained above and
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                               13   incorporates the same as if set forth herein at length.
                               14            132. Plaintiff brings this cause of action individually and on behalf of the
                               15   Class against Defendant.
                               16            133. Defendant, through the deceptive and misleading features alleged
                               17   herein, makes misrepresentations about the Products.
                               18            134. Defendant’s misrepresentations regarding the Products are material to a
                               19   reasonable consumer. A reasonable consumer would attach importance to such
                               20   representations and would be induced to spend more money than if Defendant had
                               21   not made the misrepresentations.
                               22            135. At all relevant times when such misrepresentations were made,
                               23   Defendant knew or should have known that the advertisement was deceptive.
                               24            136. Defendant intended for Plaintiff and the Class to rely on the deceptive
                               25   and misleading features alleged herein.
                               26            137. Plaintiff and members of the Class reasonably and justifiably relied on
                               27   Defendant’s misrepresentations when purchasing the Products.
                               28

                                                                                          26
                                                                                    26 COMPLAINT
                                                                         CLASS ACTION
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                                1            138. As a direct and proximate result of Defendant’s misrepresentations,
                                2   Plaintiff and members of the Class have suffered injury in fact.
                                3                                             PRAYER FOR RELIEF
                                4            WHEREFORE, Plaintiff, individually and on behalf of all others similarly
                                5   situated, prays for judgment and relief on all Causes of Action as follows:
                                6                     A.       An order enjoining Defendant from advertising and selling the
                                7                              Products in a fraudulent, deceptive, unfair, and unlawful manner,
                                8                              as challenged herein;
                                9                     B.       Damages against Defendant in an amount to be determined at
                               10                              trial, together with pre- and post-judgement interest at the
                               11                              maximum rate allowable by law on any amounts awarded;
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                               12                     C.       Restitution and/or disgorgement in an amount to be determined at
  Los Angeles, CA 90069




                               13                              trial;
                               14                     D.       Punitive damages, if proven at trial;
                               15                     E.       Reasonable attorneys’ fees and costs; and
                               16                     F.       Granting such other and further as may be just and proper.
                               17

                               18                                            JURY TRIAL DEMANDED
                               19            Plaintiff demands a jury trial on all triable issues.
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                               21
                                    DATED: September 4, 2020                            CLARKSON LAW FIRM, P.C.
                               22

                               23                                                       /s/ Ryan J. Clarkson
                                                                                        Ryan J. Clarkson, Esq.
                               24                                                       Matthew T. Theriault, Esq.
                                                                                        Zach Chrzan, Esq.
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                               26                                                       Attorneys for Plaintiff
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                                                                                    27 COMPLAINT
                                                                         CLASS ACTION
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